              Case 4:06-cr-40026-JPG                          Document 52                     Filed 12/11/06                Page 1 of 6     Page ID #77
% A 0 245B     (Rev. 06105) Judgment in a Criminal Case
               Sheet I




                        SOUTHERN                                                  District o f                                      ILLINOIS

          UNITED STATES OF AMERICA                                                           JUDGMENT IN A CRIMINAL CASE
                               v.
                     SHAWN A. WATT
                                                                                             Case Number:           4:06CR40026-002-JPG

                                                                                             U S M Number:          06865-025

                                                                                              dVllll IVl. UeldllCy, d l .

                                                                                             Defendant's Attorney
THE DEFENDANT:
gpleaded guilty to count(s)            1 of the Indictment
   pleaded nolo contendere to count(s)                                                                                           "Qei2
                                                                                                                                 :   .ash
                                                                                                                                       %;a:.   >,"A   '"6
   which was accepted by the court.
                                                                                                                                                           'r
                                                                                                                                           ."c-.
                                                                                                                                                      'I


   was found guilty on count(s)                                                                                                               e? qG@+o,e
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'l'itle S; Section                  Nature of Offense                                                                            Offense Ended                  Count
/,~!;,,., .a " ' ,                                        "       , 'J
                                          t,bjwwbute, .E,&#:"'
                                                 ),I/                    *                              I
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                                                              '                                               "

:.~~,,l,&c.                     . ., P%@#
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                                                                        . ,,',;c,;;:$&,
                                                                                      4 a*



                                     and Distribution of More than 500 Grams of Meth



       The defendant is sentenced as provided in pages 2 through                                 10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                                  is      are dismissed on the motion of the United States.

         It 1s ordered that the defend3nt must notify the Unltrd Swtrs attomcy for this district wlthln 30 ch s oiany chan c of name, res~dence,
or mallln address until all fines, restlrurlon, costs, and specla1assessments unposed by th~sludgmenrareh 8 y pad. ifor&redto pay rcaurutlon.
the defcnsant must notify the court and i:nltcd States attorney of mterlal changes in economlc circumstances




                                                                                             J. Phil Gilbert                               District Judge
                                                                                             Name of Judge                                Title of Judge
                                                                                                n
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A 0 245B      (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 I m p r i s o n m e n t
                                                                                                        Judgment - Page   -
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DEFENDANT: SHAWN A. WATT
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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  219 months (The Court sentences the defendant to 240 months which is reduced by 21 months, in order to credit the
  defendant for time served on a related state case


      kf The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



      I$ The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:

                 at                                     a.m.         p.m.     on
                 as notified by the United States Marshal

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      LINITED STATES MARSHAL


                                                                             BY
                                                                                                   DEPUTY LINITED STATES MARSHAL
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A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
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 DEFENDANT: SHAWN A. WATT
 CASE NUMBER: 4:06CR40026-002-JPG
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:

  10 years on Count 1 of the Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall reffain from any unlawful use of a controlled
 substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation off~cerand follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall relialn from cxccssi\.c usc ofalcohol and shall not purchase, possess, use, d~str~hute,
                                                                                                                   or admln~svrany
           controllc~luhstancc or any paraphernalta related to any controlled substances, except as prescnbed by 3 phyclclan:
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permiss~onto do so by the protation officer;
  10)      the defendant shall p e a t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed In plarn vlew of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  1.7)     a>dlrc~tedby the robation oflicer, the defendant shall not~fythud panlcs ot'r~sksthat m y bc oxasioncd by rhe defendant's s~lrninal
           record or pt.fsona! h l s t o ~or chxactcnst~csand sllall perrnlt the probation ofliccr to makc such notlficat~onsand to colitlnn the
           defendant s ~ornpllmcctv~thsuch not~ficat~on    requlremelit.
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A 0 245B   (Rev.06/05) Judgment in a Criminal Care
           Sheet 3C - Supervised Release
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                                           SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
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                 Sheet 5 - Criminal Monetary Penalties
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DEFENDANT: SHAWN A. WATT
                                                                                                                                                                     -                                   10
CASE NUMBER: 4:06CR40026-002-JPG
                                                                 CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                  Assessment                                                                                                          Restitution
 TOTALS                      $    100.00                                                                                                          $    0.00


        The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
        after such determination.

        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
        the prlorlty order or percentage payment column~elow.However, pursuant to 18
        before the United States is pa~d.
                                                                                                                                      8s.8.
                                                                                                 9 36648), all nonfederal victims must he paid

 Same of Payee                                                                                         Total*                            Restitution Ordered         Priority or Pcrccntagc
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 TOTALS                                               $                                      0.00          $                                 0.00


          Restitution amount ordered pursuant to plea agreement $

         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 B( The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          @f the interest requirement is waived for the                                  @f fine           restitution.
                 the interest requirement for the                             fine               restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110, 1IOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Aprll23, 199%.
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            Sheet 6 -Schedule of Payments
                                                                                                                             6                  10
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                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @ Lump sum payment of $                                 due immediately, balance due

                  not later than                                   , or
                  in accordance           [7 C,         D,          E, or          F below; or

 B         Payment to begin immediately (may be combined with                 C,          D, or        F below); or
 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           tern of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    I$    Special instructions regarding the payment of criminal monetary penalties:
            While on Supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater toward his fine.




 Lnless the coun has express1 ordcrcd othcn\.~se,if this judgment imposes i n i p r l s o n r n e n t , r y oi'crimnal nionctay p e n ~ l t ~1s
                                                                                                                                             c sdue dur~n
 impr~sonment. All cnrnlnarmoneta penalties, except those payments made throug t e Federal Rureau ot Pr~sons'Inmate ~ i n a n c l j
 Kcsponstb~l~ry Progmrn. are nude to x e clerk of thc court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

 [7   The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payment>shall be applied in the follow~ngorder: ( 1 assessment, (2) restitution principal, (3) restltutlon intcresr, (4) fine principal,
 ( 5 ) fine interest, (6) conununlry restitution, (7) pena/ttes. and (8) costs, including cost of prosesutlon and coun co,ts.
